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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
THE LAW OFFICES OF STEVEN D. PERTUZ,
LLC
111 Northfield Avenue, Suite 304
West Orange, NJ 07052
Tele: (973) 669-8600 / Fax: (973) 669-8700
Counsel to Debtor-in-Possession
By: Steven D. Pertuz, Esq. (SDP-5632)
    spertuz@pertuzlaw.com
    John O’Boyle, Esq.
    joboyle@norgaardfirm.com (JO-6337)

                                                          Chapter 11
In Re:                                                    (Subchapter V Small Business)

BAV AUTO, L.L.C.                                          Hon. John K. Sherwood

                           Debtor-in-Possession.          Case No. 22-17933 JKS

ALEXANDRE DACOSTA and
VIVIANNE ANTUNES

                           Debtors-in-Possession.
                                                          Case No. 22-18303 JKS



                                    AFFIDAVIT OF STEVEN D. PERTUZ

STATE OF NEW JERESEY}
                     } SS.
COUNTY OF ESSEX     }



         STEVEN D. PERTUZ, of full age, being duly sworn according to law and upon his oath,

deposes and says:

         1.        I am counsel to the Debtor in the above-captioned proceeding.

         2.        This Affidavit is being submitted in connection with the Application of this firm for a
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First and Final Fee Application for Allowance of Fees and for Reimbursement of Expenses.

       3.         In accordance with Title 18, U.S.C. Section 155, and the Rules of this Court, I have

not entered into any agreement, either written or oral, express or implied, with the Debtor or any

party in interest, or any attorney of such person, for the purpose of fixing the amount of any fees or

other compensation to be allowed out of, or paid from the assets of the Debtor or its estate.

       4.         In accordance with Section 504 of the Bankruptcy Code, no agreement or

understanding exists between me, on the one hand, and any other person, on the other hand, for a

division of such compensation as this firm may receive from the Court herein. No division of fees,

as prohibited by Section 504 of the Bankruptcy Code, will be made by me or anyone else affiliated

with this firm.



                                                /s/ Steven D. Pertuz
                                                    Steven D. Pertuz

Subscribed and Sworn to
Before Me on This 1st Day
Of September, 2023


________________________
Catherine S. Foy
Notary Public
State of New Jersey




                                                   2
